United States Bankruptcy Court for the Western District of New York

WITHDRAWAL OF CLAIM

Debtor Name and Case Number: | Rochester Drug Cooperative, Inc. / #20-20230

City of Philadelphia Law Department

Tax Litigation & Collections Unit

Bankruptcy Division, MSB

1401 John F. Kennedy Blvd., 5th Floor

Creditor Name and Address:

Court Claim Number (if known): | 20025

Date Claim Filed: | 05/01/2020

Total Amount of Claim Filed: | $29,141.09

I, the undersigned, am the above-referenced creditor, or an authorized signatory for the above-referenced
creditor. | hereby withdraw the above-referenced claim and authorize the Clerk of this Court, or their
duly appointed Claims Agent, to reflect this withdrawal on the official claims register for the above-
referenced Debtor.

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Pamela Elchert Thurmond

Print Name:

Title (if applicable): Senior Attorney

DEFINITIONS
Debtor

The person, corporation, or other entity that has filed a bankruptcy case is called the debtor

Creditor
A creditor 1s any person, corporation, or other entity to which the debtor owed a debt

Proof of Claim
A form filed with the clerk of the bankruptcy court where the bankruptcy case was filed, to tell the bankruptcy court how much the debtor owed a

creditor (the amount of the creditor's claim)

ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM

Court, Name of Debtor and Case Number:

Fill in the name of the federal judicial district where the bankruptcy case was filed (for example, Central District of California), the name of the
debtor in the bankruptcy case, and the bankruptcy case number If you received a notice of the case trom the court, all of this information 1s near
the top of the notice

Information about Creditor:
Complete the section giving the name and address of the creditor that was fisted on the previously filed Proof of Claim form.

Information identifying the Claim that is to be withdrawn:
Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be

withdrawn

Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power
of attorney, if any).

This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed
or, if applicable, with their duly appointed Claims Agent as per any procedure approved by the
court in the above-referenced bankruptcy proceeding.

Case 2-20-20230-PRW, Doc 2171, Filed 02/25/25, Entered 02/25/25 14:31:45,
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